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             EXHIBIT 9
                          Case 2:22-cv-01635-TL Document 48-10                           Filed 04/10/23 Page 2 of 2
 Plaintiff’s Copyright Management Information (CMI)                                       Defendant’s Copyright Management Information (CMI)




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